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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
-------------------------------------------------------X
ALEJANDRO GOUNDRY, BREITNER
TARRILLO MEDINA, DAVID SERRANO,                                   COMPLAINT
EDISON DANIEL TORRES CABELLO,
FERMIN ARZOLA SILVA, ALEX
NASIPUCHA, CRISTIAN F LUCERO                               COLLECTIVE ACTION UNDER 29
YUNGANAULA, EDISON FABIAN                                         U.S.C. § 216(b)
BECERRA CABRERA, HARRISON
MARCIAL LEONARDO, HENRY                                             ECF Case
VENEGAS, ISRAEL PEREZ, JAIRO PEREZ,
JORGE LUIS QUEZADA LEON, JUAN
PABLO LITUMA MOROCHO, LUIS J.
OLORTEGUI COLLAS, NELSON
MAURICIO GUERRERO MARROQUIN,
PABLO CAMPOS ESPINAL, and VICTOR
CAIVINAGUA CAIVINAGUA, individually and
on behalf of others similarly situated,

                                 Plaintiffs,

                 -against-

MEN OF STEEL ENTERPRISES LLC
(D/B/A MEN OF STEEL ENTERPRISES),
VOGEL DEVELOPMENT LLC, MEN OF
STEEL REBAR FABRICATORS LLC (D/B/A
MEN OF STEEL REBAR FABRICATORS),
EMPIRE STATE REBAR INSTALL, LLC,
ROBERT VOGELBACHER, MARIO DOE,
FABIAN BRAVO, and RICARDO ACOSTA,

                                  Defendants.
                                                    X
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           Plaintiffs Alejandro Goundry, Breitner Tarrillo Medina, David Serrano, Edison Daniel

Torres Cabello, Fermin Arzola Silva, Alex Nasipucha, Cristian F. Lucero Yunganaula, Edison

Fabian Becerra Cabrera, Harrison Marcial Leonardo, Henry Venegas, Israel Perez , Jairo Perez,

Jorge Luis Quezada Leon, Juan Pablo Lituma Morocho, Luis J. Olortegui Collas, Nelson Mauricio

Guerrero Marroquin, Pablo Campos Espinal, and Victor Caivinagua Caivinagua, individually and on

behalf of others similarly situated (collectively, “Plaintiffs”), by and through their attorneys, Michael

Faillace & Associates, P.C., upon their knowledge and belief, and as against Men of Steel

Enterprises, LLC (d/b/a Men of Steel Enterprises) (“MoS Enterprises”), Vogel Development, LLC

(“Vogel Development”), Men of Steel Rebar Fabricators, LLC (d/b/a Men of Steel Rebar

Fabricators) (“MoS Rebar”), Empire State Rebar Install, LLC (“ES Rebar”) (collectively “Entity

Defendants”), Robert Vogelbacher, Mario Doe , Fabian Bravo, and Ricardo Acosta (“Individual

Defendants”), (collectively, “Defendants”), allege as follows:

                                          NATURE OF ACTION

     1.    Plaintiffs are former employees of Defendants.

     2.     Defendants own, operate, or control a construction business with a primary places of

           business located at, respectively, 2039 US-130, Roebling, NJ 08554 under the name “Men

           of Steel Enterprises” (“the New Jersey business”) and 555 State Road, Suite 101,

           Bensalem, PA 19020 under the name “Men of Steel Rebar Fabricators” (“the Pennsylvania

           business”).

          3. Upon information and belief, individual Defendants Robert Vogelbacher, Mario Doe,

             Fabian Bravo, and Ricardo Acosta serve or served as owners, managers, principals, or

             agents of Entity Defendants and operate or operated the Entity Defendants’ construction

             business as a joint or unified enterprise.



          4. Plaintiffs were employed in Defendants’ construction business as iron workers, steel

             workers, rebar workers and construction workers at the New Jersey business and/or the

             Pennsylvania business.


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 5.    At all times relevant to this Complaint, Plaintiffs worked for Defendants in excess of 40

       hours per week, without appropriate minimum wage and overtime compensation for the

       hours that they worked.

 6.    Defendants failed to maintain accurate record keeping of the hours that Plaintiffs worked.

 7.     Defendants failed to pay Plaintiffs appropriately, either at the straight rate of pay or for

       any additional overtime premium, for all hours worked.

 8.    Furthermore, Defendants repeatedly failed to pay Plaintiffs wages on a timely basis.

      9. Defendants’ conduct extended beyond Plaintiffs to all other similarly situated employees.

      10.      At all times relevant to this Complaint, Defendants maintained a policy and practice

of requiring Plaintiffs and other employees to work in excess of forty (40) hours per week

without providing the minimum wage and overtime compensation required by federal and state

law and regulations.


      11.      Plaintiffs now bring this action, on behalf of themselves and other similarly situated

individuals, for unpaid minimum and overtime wages pursuant to the Fair Labor Standards Act

of 1938, 29 U.S.C. § 201 et seq. (“FLSA”) and the New Jersey Wage and Hour Law,

       N.J.S.A § 34:11-56a4, et seq. (“NJWHL”), including, as provided for in said federal and

       state stautues, applicable liquidated damages, interest, attorneys’ fees and costs.

      12.      Plaintiffs seek certification of this action as a collective action on behalf of

       themselves, individually, and all other similarly situated employees and former employees

       of Defendants pursuant to 29 U.S.C. § 216(b).



                                 JURISDICTION AND VENUE

 13. This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal question) and

       the FLSA, and supplemental jurisdiction over Plaintiffs’ state law claims under 28 U.S.C.

       § 1367(a).

 14. Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) because all, or a

       substantial portion of, the events or omissions giving rise to the claims occurred in this

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    district, Defendants maintain their corporate headquarters and offices within this district,

    and Defendants operate a construction company located in this district. Further, Plaintiffs

    were employed by Defendants in this district.

                                             PARTIES

                                              Plaintiffs

15. Plaintiff Alejandro Goundry (“Plaintiff Goundry” or “Mr. Goundry”) is an adult

    individual residing in Bronx County, New York.

16. Plaintiff Goundry was employed by Defendants at the New Jersey business from

    approximately August 1, 2019 until on or about August 31, 2019.

17. Plaintiff Breitner Tarrillo Medina (“Plaintiff Tarrillo” or “Mr. Tarrillo”) is an adult

    individual residing in Bronx County, New York.

18. Plaintiff Tarrillo was employed by Defendants within the state of New Jersey at the New

    Jersey business from approximately July 29, 2019 until on or about September 1, 2019.

19. Plaintiff David Serrano (“Plaintiff Serrano” or “Mr. Serrano”) is an adult individual

    residing in Queens County, New York.

20. Plaintiff Serrano was employed by Defendants within the state of New Jersey at the New

    Jersey business from approximately July 6, 2019 until on or about July 26, 2019.

21. Plaintiff Edison Daniel Torres Cabello (“Plaintiff Torres” or “Mr. Torres”) is an adult

    individual residing in Queens County, New York.

22. Plaintiff Torres was employed by Defendants within the state of New Jersey at the New

    Jersey business from approximately July 2019 until on or about September 17, 2019.

23. Plaintiff Fermin Arzola Silva (“Plaintiff Arzola” or “Mr. Arzola”) is an adult individual

    residing in Bronx County, New York.

24. Plaintiff Arzola was employed by Defendants within the state of New Jersey at the New

    Jersey business from approximately July 29, 2019 until on or about August 30, 2019.

25. Plaintiff Alex Nasipucha (“Plaintiff Nasipucha” or “Mr. Nasipucha”) is an adult

    individual residing in Hudson County, New Jersey.

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26. Plaintiff Nasipucha was employed by Defendants within the state of New Jersey at the

    New Jersey business from approximately August 2019 until on or about September 2019.

27. Plaintiff Cristian F. Lucero Yunganaula (“Plaintiff Lucero” or “Mr. Lucero”) is an adult

    individual residing in Bergen County, New Jersey.

28. Plaintiff Lucero was employed by Defendants within the state of New Jersey at the New

    Jersey business from approximately July 26, 2019 until on or about August 30, 2019.

29. Plaintiff Edison Fabian Becerra Cabrera (“Plaintiff Becerra” or “Mr. Becerra”) is an adult

    individual residing in Queens County, New York.

30. Plaintiff Becerra was employed by Defendants within the state of New Jersey at the New

    Jersey business from approximately August 4, 2019 until on or about August 29, 2019.

31. Plaintiff Harrison Marcial Leonardo (“Plaintiff Leonardo” or “Mr. Leonardo”) is an adult

    individual residing in Hudson County, New Jersey.

32. Plaintiff Leonardo was employed by Defendants within the state of New Jersey at the

    New Jersey business from approximately August 25, 2019 until on or about September

    25, 2019.

33. Plaintiff Henry Venegas (“Plaintiff Venegas” or “Mr. Venegas”) is an adult individual

    residing in Queens County, New York.

34. Plaintiff Venegas was employed by Defendants within the state of New Jersey at the New

    Jersey business from approximately September 1, 2019 until on or about September 15,

    2019.

35. Plaintiff Israel Perez (“Plaintiff Israel” or “Mr. Israel”) is an adult individual residing in

    Kings County, New York.

36. Plaintiff Israel was employed by Defendants within the state of New Jersey at the New

    Jersey business from approximately August 2, 2019 until on or about August 24, 2019.

37. Plaintiff Jairo Perez (“Plaintiff Perez” or “Mr. Perez”) is an adult individual residing in

    Kings County, New York.

38. Plaintiff Perez was employed by Defendants within the state of New Jersey at the New

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    Jersey business from approximately July 2019 until on or about August 2019.

39. Plaintiff Jorge Luis Quezada Leon (“Plaintiff Quezada” or “Mr. Quezada”) is an adult

    individual residing in Queens County, New York.

40. Plaintiff Quezada was employed by Defendants within the state of New Jersey at the New

    Jersey business from approximately July 30, 2019 until on or about September 11, 2019.

41. Plaintiff Juan Pablo Lituma Morocho (“Plaintiff Lituma” or “Mr. Lituma”) is an adult

    individual residing in Queens County, New York.

42. Plaintiff Lituma was employed by Defendants within the state of New Jersey at the New

    Jersey business from approximately July 27, 2019 until on or about August 20, 2019.

43. Plaintiff Luis J. Olortegui Collas (“Plaintiff Olortegui” or “Mr. Olortegui”) is an adult

    individual residing in Hudson County, New Jersey.

44. Plaintiff Olortegui was employed by Defendants within the state of New Jersey at the

    New Jersey business from approximately August 17, 2019 until on or about August 24,

    2019.

45. Plaintiff Nelson Mauricio Guerrero Marroquin (“Plaintiff Guerrero” or “Mr. Guerrero”)

    is an adult individual residing in Queens County, New York.

46. Plaintiff Guerrero was employed by Defendants within the state of New Jersey at the

    New Jersey business from approximately July 31, 2019 until on or about September 6,

    2019.

47. Plaintiff Pablo Campos Espinal (“Plaintiff Campos” or “Mr. Campos”) is an adult

    individual residing in Passaic County, New Jersey.

48. Plaintiff Campos was employed by Defendants within the state of New Jersey at the New

    Jersey business from approximately August 28, 2019 until on or about September 27,

    2019.

49. Plaintiff Victor Caivinagua Caivinagua (“Plaintiff Caivinagua” or “Mr. Caivinagua”) is

    an adult individual residing in Bronx County, New York.

50. Plaintiff Caivinagua was employed by Defendants within the state of New Jersey at the

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    New Jersey business from approximately July 29, 2019 until on or about August 31,

    2019.

                                       Defendants


51. At all relevant times, Defendants owned, operated, or controlled a construction company,

    with a place of business located at 2039 US-130, Roebling, NJ 08554, operating under

    the name “Men of Steel Enterprises”.

52. Upon information and belief, Men of Steel Enterprises LLC (d/b/a Men of Steel

    Enterprises) is a domestic limited liability company organized and existing under the laws

    of the State of New Jersey. Upon information and belief, Men of Steel Enterprises LLC

    (d/b/a Men of Steel Enterprises) maintains a place of business at 555 State Rd #101,

    Bensalem, PA, 19020.

53. Upon information and belief, Vogel Development is a domestic limited liability company

    organized and existing under the laws of the State of New Jersey. Upon information and

    belief, Vogel Development maintains a place of business at 555 State Road, Suite 101,

    Bensalem, PA 19020.

54. Upon information and belief, Men of Steel Rebar Fabricators LLC (d/b/a Men of Steel

    Rebar Fabricators) is a domestic limited liability company organized and existing under

    the laws of the State of New Jersey. Upon information and belief, it maintains a place of

    business at 555 State Road, Suite 101, Bensalem, PA 19020.

55. Upon information and belief, Empire State Rebar Install, LLC (“Empire State Rebar”) is a

    domestic limited liability company organized and existing under the laws of the State of

    New York. Upon information and belief, Empire State Rebar maintains its principal place

    of business at 555 State Road, Suite 101, Bensalem, PA 19020.

  56. Defendant Robert Vogelbacher is an individual who resides within the State of New

     Jersey engaged (or who was engaged) in business in this judicial district during the

     relevant time period. Defendant Robert Vogelbacher is sued individually in his capacity



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   as owner, officer and/or agent of the Entity Defendants. Defendant Robert Vogelbacher

   possesses operational control over the Entity Defendants, an ownership interest in the

   Entity Defendants, and controls significant functions of the Entity Defendants. He

   determines the wages and compensation of the employees of the Entity Defendants,

   including Plaintiffs, establishes the schedules of the employees, maintains employee

   records, and has the authority to hire and fire employees.

57. Defendant Mario Doe is an individual engaging (or who was engaged) in business in this

   judicial district during the relevant time period. Defendant Mario Doe is sued individually

   in his capacity as a manager of the Entity Defendants. Defendant Mario Doe possesses

   operational control over the Entity Defendants and controls significant functions of the

   Entity Defendants. He determines the wages and compensation of the employees,

   including Plaintiffs, of Defendants, establishes the schedules of the employees, maintains

   employee records, and has the authority to hire and fire employees.

58. Defendant Fabian Bravo is an individual engaging (or who was engaged) in business in

   this judicial district during the relevant time period. Defendant Fabian Bravo is sued

   individually in her capacity as a manager of the Entity Defendants. Defendant Fabian

   Bravo possesses operational control over the Entity Defendants and controls significant

   functions of the Entity Defendants. She determines the wages and compensation of the

   employees of Defendants, including Plaintiffs, establishes the schedules of the

   employees, maintains employee records, and has the authority to hire and fire employees.

59. Defendant Ricardo Acosta is an individual engaging (or who was engaged) in business in

   this judicial district during the relevant time period. Defendant Ricardo Acosta is sued

   individually in his capacity as owner, officer and/or agent of the Entity Defendants.

   Defendant Ricardo Acosta possesses operational control over the Entity Defendants, an

   ownership interest in Entity Defendants, and controls significant functions of Defendant

   Corporation. He determines the wages and compensation of the employees of Defendants,

   including Plaintiffs, establishes the schedules of the employees, maintains employee
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      records, and has the authority to hire and fire employees.

                                   FACTUAL ALLEGATIONS

                            Defendants Constitute Joint Employers

60. Defendants operate a construction business with a place of business in Roebling, New

    Jersey.

61. Individual Defendants Robert Vogelbacher, Mario Doe, Fabian Bravo, and Ricardo Acosta

    possess operational control over Entity Defendants, possess ownership interests in the

    Entity Defendants, or control significant functions of the Entity Defendants.

62. Defendants are associated and joint employers, act in the interest of each other with respect

    to employees, pay employees by the same method, and share control over the employees.

63. Each Defendant possessed substantial control over Plaintiffs’ (and other similarly situated

    employees’) working conditions, and over the policies and practices with respect to the

    employment and compensation of Plaintiffs, and all similarly situated individuals, referred

    to herein.

64. Defendants jointly employed Plaintiffs (and all similarly situated employees) and are

    Plaintiffs’ (and all similarly situated employees’) employers.

65. In the alternative, Defendants constitute a single employer of Plaintiffs and similarly-

    situated individuals.

  66. Upon information and belief, Individual Defendants Robert Vogelbacher and Ricardo

      Acosta operate one or more of Entity Defendants as either an alter ego of themselves

      and/or fail to operate one or more of Entity Defendants as an entity legally separate and

      apart from themselves, by among other things:

        a) failing to adhere to the legal formalities necessary to operate such Entity

              Defendant(s) as a limited liability company,

        b) defectively forming or maintaining one or more of the Entity Defendants, by,

              amongst other things, failing to hold annual meetings or maintaining appropriate

              corporate records,

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        c) transferring assets and debts freely as between all Defendants,

        d) operating Entity Defendant(s) for their own benefit as the sole member(s) or

               member(s) owning a majority of the equity in the company,

        e) intermingling assets and debts of their own with those of Entity Defendant(s),

        f) diminishing and/or transferring assets of Entity Defendant(s) to avoid full liability

               as necessary to protect their own interests, and

        g) Other actions evincing a failure to adhere to the limited liability company form.

67. At all relevant times, Defendants were Plaintiffs’ employers within the meaning of the

    FLSA and the New Jersey Wage and Hour Law. Defendants had the power to hire and fire

    Plaintiffs, controlled the terms and conditions of Plaintiffs’ employment, and determined

    the rate and method of any compensation in exchange for Plaintiffs’ services.

68. During 2019, Defendants, both separately and jointly, had a gross annual volume of sales

    of not less than $500,000 (exclusive of excise taxes at the retail level that are separately

    stated).

69. In addition, upon information and belief, Defendants and/or their enterprises were directly

    engaged in interstate commerce. As an example, numerous items that were used in

    Defendants’ construction businesses on a daily basis were produced outside of the State of

    New Jersey.

                                       Individual Plaintiffs

70. Plaintiffs are former employees of Defendants who were employed as iron workers, steel

    workers, rebar workers, and construction workers. Plaintiffs seek to represent a class of

    similarly situated individuals under 29 U.S.C. 216(b).

                                   Plaintiff Alejandro Goundry

71. Plaintiff Goundry was employed by Defendants within the State of New Jersey from

    approximately August 1, 2019 until on or about August 31, 2019.

72. Defendants employed Plaintiff Goundry as a construction worker from approximately

    August 1, 2019 until on or about August 31, 2019.

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73. In the course of such employment, Plaintiff Goundry regularly handled goods in interstate

    commerce, such as construction materials and other supplies produced outside of the state

    of New Jersey.

74. Plaintiff Goundry’s work duties required neither discretion nor independent judgment.

75. Throughout his employment with Defendants, Plaintiff Goundry regularly worked in

    excess of 40 hours per week.

76. From approximately August 1, 2019 until on or about August 30, 2019, Plaintiff Goundry

    worked from approximately 3:30 a.m. until on or about 8:00 p.m. on Saturdays, from

    approximately 5:00 a.m. until on or about 10:00 p.m. on Mondays, from approximately

    6:00 a.m. until on or about 10:00 p.m. on Tuesdays and Wednesdays, from approximately

    5:00 a.m. until on or about 9:00 p.m. on Thursdays, and from approximately 5:30 a.m. until

    on or about 6:30 p.m. on Fridays (typically 94.5 hours per week).

77. Throughout his employment, Defendants paid Plaintiff Goundry his wages by personal

    check.

78. From approximately August 1, 2019 until on or about August 30, 2019, Defendants paid

    Plaintiff Goundry $30.00 per hour.

79. For 46 hours that Plaintiff Goundry worked, Defendants did not pay him any wages.

80. No notification, either in the form of posted notices or other means, was ever given to

    Plaintiff Goundry regarding overtime and wages under either the FLSA or the NJWHL.

81. Defendants required Plaintiff Goundry to purchase “tools of the trade” with his own

    funds—including one helmet, one harness, two pliers, one pair of snippers, one pair of

    cutters, one reeler, and one metro tape.

                             Plaintiff Breitner Tarrillo Medina

82. Plaintiff Tarrillo was employed by Defendants within the state of New Jersey from

    approximately July 29, 2019 until on or about September 1, 2019.

83. From approximately July 29, 2019 until on or about September 1, 2019, Defendants

    employed Plaintiff Tarrillo as a construction worker.

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84. In the course of such employment, Plaintiff Tarrillo regularly handled goods in interstate

    commerce, such as construction materials and other supplies produced outside of the State

    of New Jersey.

85. Plaintiff Tarrillo’s work duties required neither discretion nor independent judgment.

86. Throughout his employment with Defendants, Plaintiff Tarrillo regularly worked in excess

    of 40 hours per week.

87. From approximately July 29, 2019 until on or about September 1, 2019, Plaintiff Tarrillo

    worked from approximately 7:00 a.m. until on or about 8:30 p.m. on Mondays, from

    approximately 3:00 a.m. until on or about 10:00 p.m. on Tuesdays and Fridays, from

    approximately 5:00 a.m. until on or about 8:00 p.m. on Wednesdays, Thursdays, and

    Saturdays, and from approximately 5:00 a.m. until on or about 5:30 p.m. on Sundays

    (typically 109 hours per week).

88. Throughout his employment, Defendants paid Plaintiff Tarrillo his wages by check.

89. From approximately July 29, 2019 until on or about September 1, 2019, Defendants paid

    Plaintiff Tarrillo $31.00 per hour.

90. For 61 hours that Plaintiff Tarrillo worked over a two week period (46 hours in one week

    and 15 hours in the other week), Defendants did not pay him any wages altogether

91. Defendants took improper and illegal deductions from Plaintiff Tarrillo’s wages;

    specifically, during his last two weeks of work, Defendants deducted two hours per day for

    meal periods that were each only 45 minutes long.

92. No notification, either in the form of posted notices or other means, was ever given to

    Plaintiff Tarrillo regarding overtime and wages under the FLSA.

93. Defendants did not provide Plaintiff Tarrillo an accurate statement of his wages.

94. Defendants adjusted Plaintiff Tarrillo’s paystubs so that they reflected inaccurate wages

    and hours worked for his last two weeks of work.

  95.       Defendants required Plaintiff Tarrillo to purchase “tools of the trade,” including

    gloves, with his own funds.

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                                   Plaintiff David Serrano


96. Plaintiff Serrano was employed by Defendants within the state of New Jersey from

    approximately July 6, 2019 until on or about July 26, 2019.

97. From approximately July 6, 2019 until on or about July 26, 2019, Defendants employed

    Plaintiff Serrano as a construction worker.

98. Plaintiff Serrano regularly handled goods in interstate commerce, such as construction

    materials and other supplies produced outside the State of New Jersey.

99. Plaintiff Serrano’s work duties required neither discretion nor independent judgment.

100. Throughout his employment with Defendants, Plaintiff Serrano regularly worked in excess

    of 40 hours per week.

101. From approximately July 6, 2019 until on or about July 26, 2019, Plaintiff Serrano worked

    from approximately 6:00 a.m. until on or about 10:30 p.m., seven days a week (typically

    115.5 hours per week).

102. Throughout his employment, Defendants paid Plaintiff Serrano his wages by personal

    check.

103. From approximately July 6, 2019 until on or about July 26, 2019, Defendants paid Plaintiff

    Serrano $30.00 per hour.

104. For 31 overtime hours that Plaintiff Serrano worked during his last week of work,

    Defendants did not pay Plaintiff Serrano altogether.

105. Plaintiff Serrano was not required to keep track of his time, nor, to his knowledge, did the

    Defendants utilize any time tracking device such as punch cards, that accurately reflected

    his actual hours worked.

106. No notification, either in the form of posted notices or other means, was ever given to

    Plaintiff Serrano regarding overtime and wages under the FLSA.

107. Defendants did not provide Plaintiff Serrano an accurate statement of wages.

108.Defendants adjusted Plaintiff Serrano’s paystub so that it reflected inaccurate wages and

    hours worked for his last week of work.

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109. Defendants required Plaintiff Serrano to purchase “tools of the trade” with his own funds—

    including one pouch, flyers, cutters, one belt, one pair of boots, one snipper, and car gas

    every week.


                            Plaintiff Edison Daniel Torres Cabello

110. Plaintiff Torres was employed by Defendants from approximately July 2019 until on or

    about September 17, 2019.

111. From approximately July 2019 until on or about September 17, 2019, Defendants

    employed Plaintiff Torres as a construction worker.

112. Plaintiff Torres regularly handled goods in interstate commerce, such as construction

    materials and other supplies produced outside the state in which he was working.

113. Plaintiff Torres’s work duties required neither discretion nor independent judgment.

114.Throughout his employment with Defendants, Plaintiff Torres regularly worked in excess

    of 40 hours per week.

115. From approximately July 29, 2019 until on or about August 14, 2019, Plaintiff Torres

    worked at the New Jersey business from approximately 4:00 a.m. to 5:00 a.m. until on or

    about 8:00 p.m. to 9:00 p.m., seven days a week (typically 112 hours per week).

116. From approximately August 15, 2019 until on or about August 31, 2019, Plaintiff Torres

    worked for Defendants within the state of New Jersey from approximately 5:00 a.m. to

    6:00 a.m. until on or about 7:00 p.m. to 8:00 p.m., seven days a week (typically 98 hours

    per week).

117. From approximately September 1, 2019 until on or about September 17, 2019, Plaintiff

    Torres worked for Defendants at a New York location from approximately 7:00 a.m. until

    on or about 4:30 p.m. to 5:30 p.m., Mondays through Fridays (typically 50 hours per week).

118. Throughout his employment, Defendants paid Plaintiff Torres his wages by personal check.

119.From approximately July 29, 2019 until on or about August 31, 2019, Defendants paid

    Plaintiff Torres $32.00 per hour.

120. From approximately September 1, 2019 until on or about September 17, 2019, Defendants
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    paid Plaintiff Torres $30.00 per hour.

121. Defendants did not pay Plaintiff Torres an extra hour’s wages for days on which he worked

    in New York for a spread of hours (time span between of the beginning of the workday and

    the end of the workday) greater than ten hours.

122. For 63.5 hours that Plaintiff worked over a five-week Defendants did not pay Plaintiff

    Torres any wages

123. On a number of occasions, Defendants required Plaintiff Torres to sign a document, the

    contents of which he was not allowed to review in detail, as a pre-requisite to release his

    weekly pay.

124. No notification, either in the form of posted notices or other means, was ever given to

    Plaintiff Torres regarding overtime and minimum wage provisions under the FLSA or state

    law.

125. Defendants did not provide Plaintiff Torres with an accurate statement of his wages.

126.Defendants adjusted Plaintiff Torres’s paystubs so that they reflected inaccurate wages and

    hours worked for all the weeks he worked.


  127.      Defendants did not give any notice to Plaintiff Torres, in English or in Spanish

    (Plaintiff Torres’s primary language), of his rate of pay, employer’s regular pay day, and

    such other information.

  128.      Defendants required Plaintiff Torres to purchase “tools of the trade” with his own

    funds—including one helmet and one pair of red wing shoes.

                               Plaintiff Fermin Arzola Silva

129. Plaintiff Arzola was employed by Defendants within the State of New Jersey from

    approximately July 29, 2019 until on or about August 30, 2019.

130. Defendants employed Plaintiff Arzola as a construction worker from approximately July

    29, 2019 until on or about August 30, 2019.

131. Plaintiff Arzola regularly handled goods in interstate commerce, such as construction

    materials and other supplies produced outside the State of New Jersey.

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132. Plaintiff Arzola’s work duties required neither discretion nor independent judgment.

133.Throughout his employment with Defendants, Plaintiff Arzola regularly worked in excess

    of 40 hours per week.

134. From approximately July 29, 2019 until on or about August 30, 2019, Plaintiff Arzola

    worked from approximately 5:00 a.m. to 6:00 a.m. until about 7:30 p.m. to 8:30 p.m., seven

    days a week (typically 101.5 hours per week).

135. Throughout his employment, Defendants paid Plaintiff Arzola his wages by check.

136.From approximately July 29, 2019 until on or about August 30, 2019, Defendants paid

    Plaintiff Arzola $30.00 per hour.

137. For 40 overtime hours that Plaintiff Arzola worked during his last week of work,

    Defendants did not pay Plaintiff Arzola altogether.

138. No notification, either in the form of posted notices or other means, was ever given to

    Plaintiff Arzola regarding overtime and wages under the FLSA.

139. Defendants did not provide Plaintiff Arzola an accurate statement of wages.

140.Defendants adjusted Plaintiff Arzola’s paystub so that it reflected inaccurate wages and

    hours worked for his last week of work.

  141.      Defendants required Plaintiff Arzola to purchase “tools of the trade” with his own

    funds— including two twelve packs of gloves, one tool belt, and three pliers.

                                  Plaintiff Alex Nasipucha

142. Plaintiff Nasipucha was employed by Defendants within the State of New Jersey from

    approximately August 2019 until about September 2019.

143. Defendants employed Plaintiff Nasipucha as a steel worker from approximately August

    2019 until on or about September 2019.

144. Plaintiff Nasipucha regularly handled goods in interstate commerce, such as construction

    materials and other supplies produced outside the State of New Jersey.

145. Plaintiff Nasipucha’s work duties required neither discretion nor independent judgment.

146.Throughout his employment with Defendants, Plaintiff Nasipucha regularly worked in

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    excess of 40 hours per week.

147. From approximately August 2019 until on or about September 2019, Plaintiff Nasipucha

    worked from approximately 5:30 a.m. until on or about 10:00 p.m. on Mondays and

    Tuesdays, from approximately 5:30 a.m. until on or about 7:30 p.m. on Wednesdays and

    Saturdays, from approximately 5:30 a.m. until on or about 8:30 p.m. on Thursdays, and

    from approximately 5:30 a.m. until on or about 9:30 p.m. on Fridays (typically 92 hours

    per week).

148. Throughout his employment, Defendants paid Plaintiff Nasipucha his wages by personal

    check.

149. From approximately August 2019 until on or about September 2019, Defendants paid

    Plaintiff Nasipucha $30.00 per hour, except for approximately one week, for which

    Defendants did not pay Plaintiff Nasipucha any wages for his work.

150. Defendants took improper and illegal deductions from Plaintiff Nasipucha’s wages;

    specifically, Defendants deducted thirty minutes from Plaintiff Nasipucha's weekly wages

    any time he arrived to work five minutes later than scheduled.

151. No notification, either in the form of posted notices or other means, was ever given to

    Plaintiff Nasipucha regarding the overtime and minimum wage laws.

152. Defendants did not provide Plaintiff Nasipucha an accurate statement of wages.

  153.       Defendants adjusted Plaintiff Nasipucha’s paystubs so that they reflected

    inaccurate wages and hours worked.

  154.       Defendants required Plaintiff Nasipucha to purchase “tools of the trade” with his

    own funds—including gloves.

                           Plaintiff Cristian F Lucero Yunganaula

155. Plaintiff Lucero was employed by Defendants within the State of New Jersey from

    approximately July 26, 2019 until on or about August 30, 2019.

156. Defendants employed Plaintiff Lucero as a steel worker from approximately July 26, 2019

    until on or about August 30, 2019.

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157. Plaintiff Lucero regularly handled goods in interstate commerce, such as construction

    materials and other supplies produced outside the State of New Jersey.

158. Plaintiff Lucero’s work duties required neither discretion nor independent judgment.


159. Throughout his employment with Defendants, Plaintiff Lucero regularly worked in excess

    of 40 hours per week.

160. Throughout his employment with Defendants, Defendants failed to pay Plaintiff Lucero

    at a rate of one-and-a-half times his regular hourly rate for hours that he worked in excess

    of 40 hours per week.

161. From approximately July 26, 2019 until on or about August 9, 2019, Plaintiff Lucero

    worked from approximately 7:00 a.m. until on or about 8:00 p.m. to 10:00 p.m. three days

    a week and from approximately 7:00 a.m. until on or about 6:00 p.m. to 7:00 p.m. four

    days a week (typically 89.5 hours per week).

162. From approximately August 10, 2019 until on or about August 17, 2019, Plaintiff Lucero

    worked from approximately 7:00 a.m. until on or about 7:00 p.m., six days a week (72

    hours per week).

163. From approximately August 18, 2019 until on or about August 30, 2019, Plaintiff Lucero

    worked from approximately 7:00 a.m. until on or about 4:00 p.m. to 6:00 p.m., one day a

    week and from approximately 7:00 a.m. until on or about 4:00 p.m., three days a week

    (typically 36 to 38 hours per week).

164. Throughout his employment, Defendants paid Plaintiff Lucero his wages by personal

    check.

165. From approximately July 26, 2019 until on or about August 30, 2019, Defendants paid

    Plaintiff Lucero $32.00 per hour.

166. For 62 hours that Plaintiff Lucero worked during his employment period (20 hours from

    his second check, 30 hours from his third check and 12 hours from the last check),

    Defendants did not pay Plaintiff Lucero any wages.

167. No notification, either in the form of posted notices or other means, was ever given to

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    Plaintiff Lucero regarding overtime and wage requirements under the FLSA.

168. Defendants did not provide Plaintiff Lucero an accurate statement of wages.

169.Defendants adjusted Plaintiff Lucero’s last three paystubs so that they reflected fewer hours

    (20 fewer hours on the second paycheck, 30 fewer hours on the third paycheck and 12

    fewer hours on the last paycheck) than the number of hours that he actually worked.

  170.      Defendants did not give Plaintiff Lucero any notice, in English or in Spanish

    (Plaintiff Lucero’s primary language), of his rate of pay, employer’s regular pay day, and

    such other information.

  171.      Defendants required Plaintiff Lucero to purchase “tools of the trade” with his own

    funds—including pliers.

                          Plaintiff Edison Fabian Becerra Cabrera

172. Plaintiff Becerra was employed by Defendants within the State of New Jersey from

    approximately August 4, 2019 until on or about August 28, 2019.

173. Defendants employed Plaintiff Becerra as a rebar worker from approximately August 4,

    2019 until on or about August 28, 2019.

174. Plaintiff Becerra regularly handled goods in interstate commerce, such as construction

    materials and other supplies produced outside the State of New Jersey.

175. Plaintiff Becerra’s work duties required neither discretion nor independent judgment.

176.Throughout his employment with Defendants, Plaintiff Becerra regularly worked in excess

    of 40 hours per week.
177. From approximately August 4, 2019 until on or about August 9, 2019, Plaintiff Becerra

    worked from approximately 6:00 a.m. until on or about 7:00 p.m., Sundays through Fridays

    (typically 78 hours per week).

178. From approximately August 12, 2019 until on or about August 27, 2019, Plaintiff Becerra

    worked from approximately 6:00 a.m. until on or about 7:30 a.m., Mondays through

    Fridays (typically 67.5 hours per week).

179. On August 28, 2019, Plaintiff Becerra worked from approximately 6:00 a.m. until on or

    about 1:00 p.m. (approximately 7 hours).
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180. Throughout his employment, Defendants paid Plaintiff Becerra his wages by check.

181.From approximately August 4, 2019 until on or about August 28, 2019, Defendants paid

    Plaintiff Becerra $31.00 per hour.

182. Throughout his employment with Defendants, Defendants failed to pay Plaintiff Becerra

    at a rate of one-and-a-half times his regular hourly rate for hours that he worked in excess

    of 40 hours per week.

183. For 35 hours that he worked in a two week period, Defendants did not pay Plaintiff Becerra

    any wages.

184. Defendants deducted $31.00 daily from Plaintiff Becerra’s weekly paycheck for meals that

    he never ate.

185. Defendants took improper and illegal deductions from Plaintiff Becerra’s wages;

    specifically, Defendants deducted thirty-five hours from Plaintiff Becerra’s weekly wages

    in the last two weeks that he worked.

186. No notification, either in the form of posted notices or other means, was ever given to

    Plaintiff Becerra regarding overtime and minimum wage laws.

187. Defendants did not provide Plaintiff Becerra an accurate statement of wages.

  188.      Defendants adjusted Plaintiff Becerra’s paystubs so that they reflected inaccurate

    wages and hours worked.

  189.      Defendants required Plaintiff Becerra to purchase “tools of the trade” with his own

    funds—including five pairs of gloves and one pair of pliers.

                            Plaintiff Harrison Marcial Leonardo

190. Plaintiff Leonardo was employed by Defendants within the state of New Jersey from

    approximately August 25, 2019 until about September 25, 2019.

191. Defendants employed Plaintiff Leonardo as an iron worker and a construction worker from

    approximately August 25, 2019 until about September 25, 2019.

192. Plaintiff Leonardo regularly handled goods in interstate commerce, such as construction

    materials and other supplies produced outside the State of New Jersey.

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193. Plaintiff Leonardo’s work duties required neither discretion nor independent judgment.

194.Throughout his employment with Defendants, Plaintiff Leonardo regularly worked in

    excess of 40 hours per week.

195. From approximately August 25, 2019 until on or about September 25, 2019, Plaintiff

    Leonardo worked from approximately 5:00 a.m. until on or about 7:00 p.m. to 8:00 p.m.,

    Mondays through Fridays, from approximately 5:00 a.m. until on or about 11:00 p.m.,

    Saturdays, and from approximately 5:00 a.m. until on or about 6:00 p.m., Sundays

    (typically about 103.5 hours per week).

196. Throughout his employment, Defendants paid Plaintiff Leonardo his wages by check.

197.From approximately August 25, 2019 until about September 25, 2019, Defendants paid

    Plaintiff Leonardo $31.50 per hour.
198. Throughout his employment with Defendants, Defendants failed to pay Plaintiff

    Leonardo at a rate of one-and-a-half times his regular hourly rate for hours that he

    worked in excess of 40 hours per week.

199. Defendants did not pay Plaintiff Leonardo any wages for 48 hours he worked.

200. No notification, either in the form of posted notices or other means, was ever given to

    Plaintiff Leonardo regarding overtime and minimum wage laws.

  201.      Defendants required Plaintiff Leonardo to purchase “tools of the trade” with his

    own funds—including five pairs of gloves, one pair of steel toe boots, and one pair of safety

    glasses.

                                   Plaintiff Henry Venegas

202. Plaintiff Venegas was employed by Defendants within the State of New Jersey from

    approximately September 1, 2019 until on or about September 15, 2019.

203. Defendants employed Plaintiff Venegas as a steel worker from approximately September

    1, 2019 until on or about September 15, 2019.

204. Plaintiff Venegas regularly handled goods in interstate commerce, such as construction

    materials and other supplies produced outside the State of New Jersey.

205. Plaintiff Venegas’s work duties required neither discretion nor independent judgment.
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206.Throughout his employment with Defendants, Plaintiff Venegas regularly worked in

    excess of 40 hours per week.

207. From approximately September 1, 2019 until on or about September 15, 2019, Plaintiff

    Venegas worked from approximately 5:00 a.m. to 6:00 a.m. until on or about 6:00 p.m. to

    8:00 p.m. five days a week and from approximately 7:00 a.m. until on or about 3:00 p.m.,

    one day a week (about 78 hours per week).

208. Throughout his employment, Defendants paid Plaintiff Venegas his wages by personal

    check.

209. From approximately September 1, 2019 until on or about September 15, 2019, Defendants

    paid Plaintiff Venegas $30.00 per hour.

210. Throughout his employment with Defendants, Defendants failed to pay Plaintiff Venegas

    at a rate of one-and-a-half times his regular hourly rate for hours that he worked in excess

    of 40 hours per week.

211. Defendants did not pay Plaintiff Venegas any wages for 10 hours he worked.

212.Defendants took improper and illegal deductions from Plaintiff Venegas’s wages;

    specifically, Defendant deducted ten hours from Plaintiff Venega's weekly wages.

213. No notification, either in the form of posted notices or other means, was ever given to

    Plaintiff Venegas regarding overtime and wages under the FLSA.

214. Defendants did not provide Plaintiff Venegas an accurate statement of wages.

215.Defendants adjusted Plaintiff Venegas’s paystub so that it reflected inaccurate wages and

    hours worked.

                                    Plaintiff Israel Perez

216. Plaintiff Israel was employed by Defendants within the State of New Jersey from

    approximately August 2, 2019 until on or about August 24, 2019.

217. Defendants employed Plaintiff Israel as a construction worker from approximately

    August 2, 2019 until on or about August 24, 2019.

218. Plaintiff Israel regularly handled goods in interstate commerce, such as construction


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    materials and other supplies produced outside the State of New Jersey.

219. Plaintiff Israel’s work duties required neither discretion nor independent judgment.


220. Throughout his employment with Defendants, Plaintiff Israel regularly worked in excess

    of 40 hours per week.

221. From approximately August 2, 2019 until on or about August 24, 2019, Plaintiff Israel

    worked from approximately 4:00 a.m. to 5:00 a.m. until on or about 6:00 p.m. to 10:00

    p.m. seven days a week (on average about 109.5 hours per week).

222. Throughout his employment, Defendants paid Plaintiff Israel his wages by check.

223.From approximately August 2, 2019 until on or about August 24, 2019, Defendants paid

    Plaintiff Israel $26.00 per hour.

224. Throughout his employment with Defendants, Defendants failed to pay Plaintiff Israel at a

    rate of one-and-a-half times his regular hourly rate for hours that he worked in excess of

    40 hours per week.

225. Defendants did not pay Plaintiff Israel any wages for 70 hours he worked.

226. No notification, either in the form of posted notices or other means, was ever given to

    Plaintiff Israel regarding overtime and minimum wage laws.

227. Defendants did not provide Plaintiff Israel an accurate statement of wages.

  228.      In fact, Defendants adjusted Plaintiff Israel’s pay stubs so that they reflected

    inaccurate hours worked.

229. Defendants required Plaintiff Israel to purchase “tools of the trade” with his own funds—

    including a self-retracting line.

                                        Plaintiff Jairo Perez

230. Plaintiff Perez was employed by Defendants within the state of New Jersey from

    approximately July 2019 until on or about August 2019.

231. Defendants employed Plaintiff Perez as a construction worker and iron worker from

    approximately July 2019 until on or about August 2019.

232. Plaintiff Perez regularly handled goods in interstate commerce, such as construction

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    materials and other supplies produced outside the State of New Jersey.

233. Plaintiff Perez’s work duties required neither discretion nor independent judgment.

234.Throughout his employment with Defendants, Plaintiff Perez regularly worked in excess

    of 40 hours per week.

235. From approximately July 1, 2019 until on or about July 15, 2019, Plaintiff Perez worked

    from approximately 4:00 a.m. to 5:00 a.m. until on or about 10:00 p.m., 7 days a week

    (typically 105 to 112 hours per week).

236. From approximately July 16, 2019 until on or about July 22, 2019, Plaintiff Perez worked

    from approximately 4:00 a.m. to 5:00 a.m. until about 10:00 p.m., 6 days a week (typically

    72.5 to 78.5 hours per week).

237. From approximately July 23, 2019 until on or about August 3, 2019, Plaintiff Perez worked

    from approximately 6:00 a.m. until about 7:00 p.m. to 9:00 p.m., 7 days a week (typically

    91 to 105 hours per week).

238. From approximately August 4, 2019 until on or about August 11, 2019, Plaintiff Perez

    worked from approximately 6:00 a.m. until about 7:00 p.m. to 9:00 p.m., 6 days a week

    (typically 78 to 90 hours per week).

  239.      Throughout his employment, Defendants paid Plaintiff Perez his wages by check.

  240.      From approximately July 2019 until on or about August 2019, Defendants paid

      Plaintiff Perez $30.00 per hour.

  241.      Throughout his employment with Defendants, Defendants failed to pay Plaintiff

      Perez at a rate of one-and-a-half times his regular hourly rate for hours that he worked in

      excess of 40 hours per week.

  242.      For 39 hours that Plaintiff Perez worked in a one-week period, Defendants did not

      pay Plaintiff Perez any wages.

243. No notification, either in the form of posted notices or other means, was ever given to

    Plaintiff Perez regarding overtime and wages under the FLSA.

244. Defendants did not provide Plaintiff Perez an accurate statement of wages.


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  245.       In fact, Defendants adjusted Plaintiff Perez’s paystub so that it reflected inaccurate

    wages and hours worked for his last week of work.

  246.       Defendants did not give any notice to Plaintiff Perez, in English and in Spanish

    (Plaintiff Perez’s primary language), of his rate of pay, employer’s regular pay day, and

    such other information.

  247.       Defendants required Plaintiff Perez to purchase “tools of the trade” with his own

    funds—including two cutters and one pincer.

                              Plaintiff Jorge Luis Quezada Leon

248. Plaintiff Quezada was employed by Defendants within the State of New Jersey from

    approximately July 30, 2019 until on or about September 11, 2019.

249. Defendants employed Plaintiff Quezada as a construction worker from approximately July

    30, 2019 until on or about September 11, 2019.

250. Plaintiff Quezada regularly handled goods in interstate commerce, such as construction

    materials and other supplies produced outside the State of New Jersey.

251. Plaintiff Quezada’s work duties required neither discretion nor independent judgment.


252. Throughout his employment with Defendants, Plaintiff Quezada regularly worked in

    excess of 40 hours per week.

253. From approximately July 30, 2019 until on or about September 11, 2019, Plaintiff Quezada

    worked from approximately 4:00 a.m. until about 7:00 p.m. to 10:00 p.m. seven days a

    week (about 99.5 hours per week).

254. Throughout his employment, Defendants paid Plaintiff Quezada his wages by personal

    check.

255. From approximately July 30, 2019 until on or about September 11, 2019, Defendants paid

    Plaintiff Quezada $30.00 per hour.

256. Throughout his employment with Defendants, Defendants failed to pay Plaintiff Quezada

    at a rate of one-and-a-half times his regular hourly rate for hours that he worked in excess

    of 40 hours per week.

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257. Defendants did not pay Plaintiff Quezada any wages for 38 hours he worked in a one-week

    period.

258. Additionally, Defendants did not pay Plaintiff Quezada any wages for his work his last

    week of employment.

259. No notification, either in the form of posted notices or other means, was ever given to

    Plaintiff Quezada regarding overtime and minimum wage laws

260. Defendants did not provide Plaintiff Quezada an accurate statement of wages.

261.Defendants adjusted Plaintiff Quezada’s paystubs so that they reflected inaccurate wages

    and hours worked.

  262.        Defendants required Plaintiff Quezada to purchase “tools of the trade” with his own

    funds—including two pliers, one reeler, and one harness.

                             Plaintiff Juan Pablo Lituma Morocho

263. Plaintiff Lituma was employed by Defendants within the State of New Jersey from

    approximately July 27, 2019 until on or about August 20, 2019.

264. Defendants employed Plaintiff Lituma as an iron worker and a construction worker from

    approximately July 27, 2019 until on or about August 20, 2019.

265. Plaintiff Lituma regularly handled goods in interstate commerce, such as construction

    materials and other supplies produced outside the State of New Jersey.

266. Plaintiff Lituma’s work duties required neither discretion nor independent judgment.

267.Throughout his employment with Defendants, Plaintiff Lituma regularly worked in excess

    of 40 hours per week.

268. From approximately July 27, 2019 until on or about August 20, 2019, Plaintiff Lituma

    worked from approximately 4:00 a.m. to 7:00 a.m. until about 9:00 p.m. to 10:00 p.m.

    seven days a week (typically about 103 hours per week).

269. Throughout his employment, Defendants paid Plaintiff Lituma his wages by personal

    check.

270. From approximately July 27, 2019 until on or about August 20, 2019, Defendants paid


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    Plaintiff Lituma $30.00 per hour.

271. Throughout his employment with Defendants, Defendants failed to pay Plaintiff Lituma

    at a rate of one-and-a-half times his regular hourly rate for hours that he worked in excess

    of 40 hours per week.

272. For 40 hours that Plaintiff Lituma worked, Defendants did not pay him any wages.

273.No notification, either in the form of posted notices or other means, was ever given to

    Plaintiff Lituma regarding overtime and minum wage laws


274. Defendants did not provide Plaintiff Lituma an accurate statement of wages.

  275.      In fact, Defendants adjusted Plaintiff Lituma’s paystubs so that they reflected

    inaccurate wages and hours worked.

  276.      Defendants required Plaintiff Lituma to purchase “tools of the trade” with his own

    funds—including pins.

                              Plaintiff Luis J. Olortegui Collas

277. Plaintiff Olortegui was employed by Defendants within the State of New Jersey from

    approximately August 17, 2019 until on or about August 25, 2019.

278. Defendants employed Plaintiff Olortegui as a rebar worker from approximately August 17,

    2019 until on or about August 25, 2019.

279. Plaintiff Olortegui regularly handled goods in interstate commerce, such as construction

    materials and other supplies produced outside the State of New Jersey.

280. Plaintiff Olortegui’s work duties required neither discretion nor independent judgment.

281.Throughout his employment with Defendants, Plaintiff Olortegui regularly worked in

    excess of 40 hours per week.

282. From approximately August 17, 2019 until on or about August 23, 2019, Plaintiff Olortegui

    worked from approximately 7:30 a.m. until about 8:30 p.m. on Saturday, from

    approximately 6:00 a.m. until about 4:30 p.m. on Sunday, from approximately 6:30 a.m.

    until on or about 4:00 p.m. on Monday, from approximately 10:30 a.m. until on or about

    4:45 p.m. on Tuesday, from approximately 5:00 a.m. until about 3:30 p.m. on Wednesday,

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    from approximately 6:30 a.m. until about 6:00 p.m. on Thursday, and from approximately

    4:30 a.m. until about 11:30 p.m. on Friday (about 80.25 hours per week).

283. From approximately August 24, 2019 until on or about August 25, 2019, Plaintiff Olortegui

    worked from approximately 5:00 a.m until about 5:00 p.m. to 8:00 p.m., Saturday to

    Sunday (approximately 24-27 hours).

284. Throughout his employment, Defendants paid Plaintiff Olortegui his wages by personal

    check.

285. From approximately August 17, 2019 until on or about August 24, 2019, Defendants paid

    Plaintiff Olortegui $30.00 per hour.

286. Throughout his employment with Defendants, Defendants failed to pay Plaintiff

    Olortegui at a rate of one-and-a-half times his regular hourly rate for hours that he

    worked in excess of 40 hours per week.

287. For approximately one day’s work, Defendants did not pay Plaintiff Olortegui any wages

    for his work.

288. Defendants deducted $60 from Plaintiff Olortegui’s weekly paycheck for meals he never

    ate.

289. No notification, either in the form of posted notices or other means, was ever given to

    Plaintiff Olortegui regarding overtime and wages under the FLSA.

290. Defendants did not provide Plaintiff Olortegui an accurate statement of wages.

291. In fact, Defendants adjusted Plaintiff’ Olortegui’s paystubs so that they reflected inaccurate

    wages and hours worked.

  292.       Defendants required Plaintiff Olortegui to purchase “tools of the trade” with his

    own funds—including one harness, three pliers, one reel, one pouch, one spirit level, one

    helmet, and a pair of gloves.

                       Plaintiff Nelson Mauricio Guerrero Marroquin

293. Plaintiff Guerrero was employed by Defendants in the State of New Jersey from

    approximately July 31, 2019 until on or about September 6, 2019.

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294. Defendants employed Plaintiff Guerrero as a rebar worker and a steel worker from

    approximately July 31, 2019 until on or about September 6, 2019.

295. Plaintiff Guerrero regularly handled goods in interstate commerce, such as construction

    materials and other supplies produced outside the State of New Jersey.

296. Plaintiff Guerrero’s work duties required neither discretion nor independent judgment.

297.Throughout his employment with Defendants, Plaintiff Guerrero regularly worked in

    excess of 40 hours per week.

298. From approximately July 31, 2019 until on or about September 6, 2019, Plaintiff Guerrero

    worked approximately 67 hours the first week, 73 hours the second week, 60 hours the

    third week, 66.25 hours the fourth week and 62 hours the fifth week.

299. Throughout his employment, Defendants paid Plaintiff Guerrero his wages by check.

300.From approximately July 31, 2019 until on or about September 6, 2019, Defendants paid

    Plaintiff Guerrero $30.00 per hour.

301. Throughout his employment with Defendants, Defendants failed to pay Plaintiff Guerrero

    at a rate of one-and-a-half times his regular hourly rate for hours that he worked in excess

    of 40 hours per week.

302. Defendants did not pay Plaintiff Guerrero for 32 hours he worked during his last week of

    work; specifically, defendants deducted 32 hours from Plaintiff Guerrero’s last paycheck.

303. Defendants did not provide Plaintiff Guerrero an accurate statement of wages.


304. In fact, Defendants adjusted Plaintiff Guerrero’s paystubs so that they reflected inaccurate

    wages and hours worked for his last week of work.

  305.      Defendants required Plaintiff Guerrero to purchase “tools of the trade” with his own

    funds—including one helmet, one harness, two pairs of pliers and one pouch.

                               Plaintiff Pablo Campos Espinal

306. Plaintiff Campos was employed by Defendants from approximately August 28, 2019 until

    on or about September 27, 2019.

307. Defendants employed Plaintiff Campos as an iron worker from approximately August 28,

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    2019 until on or about September 27, 2019.

308. Plaintiff Campos regularly handled goods in interstate commerce, such as construction

    materials and other supplies produced outside the State of New Jersey.

309. Plaintiff Campos’s work duties required neither discretion nor independent judgment.

310.Throughout his employment with Defendants, Plaintiff Campos regularly worked in excess

    of 40 hours per week.

311. From approximately August 28, 2019 until on or about September 3, 2019, Plaintiff

    Campos worked at the New Jersey business from approximately 5:00 a.m. until about 6:00

    p.m. to 7:00 p.m. seven days a week (about 90.5 hours per week).

312. From approximately September 4, 2019 until on or about September 10, 2019, Plaintiff

    Campos worked at the New Jersey business from approximately 6:00 a.m. until about 7:00

    p.m. two days a week and from approximately 6:00 a.m. until on or about 7:30 p.m. five

    days a week (typically 95.5 hours per week).

313. From approximately September 11, 2019 until on or about September 19, 2019, Plaintiff

    Campos worked in the State of New Jersey at the New Jersey business from approximately

    5:00 a.m. until about 6:00 p.m. seven days a week (typically 91 hours per week).

314. From approximately September 20, 2019 until on or about September 27, 2019, Plaintiff

    Campos worked at the Pennsylvania business from approximately 7:00 a.m. until about

    4:00 p.m. five days a week (about 45 hours per week).

315. From approximately August 28, 2019 until on or about September 11, 2019, Defendants

    paid Plaintiff Campos his wages by check.

316. From approximately September 12, 2019 until on or about September 27, 2019, Defendants

    paid Plaintiff Campos his wages by personal check.

317. From approximately August 28, 2019 until on or about September 27, 2019, Defendants

    paid Plaintiff Campos $30.00 per hour.

318. Throughout his employment with Defendants, Defendants failed to pay Plaintiff Campos

    at a rate of one-and-a-half times his regular hourly rate for hours that he worked in excess

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    of 40 hours per week.

319. Moreover, for 50 hours that he worked, Defendants did not pay Plaintiff Campos any wages

    320.    Defendants granted Plaintiff Campos a constantly interrupted meal break of

    approximately 15 to 30 minutes.

    321.    Nevertheless, Defendants deducted $15 daily from Plaintiff Campo’s weekly

    paycheck for meals he never ate.

322. No notification, either in the form of posted notices or other means, was ever given to

    Plaintiff Campos regarding overtime and minimum wage laws

323. Defendants did not provide Plaintiff Campos an accurate statement of wages.


  324.       In fact, Defendants adjusted Plaintiff Campos’ paystub so that it reflected

    inaccurate wages and hours worked for his third week of work.

  325.      Defendants did not give any notice to Plaintiff Campos, in English and in Spanish

    (Plaintiff Campos’s primary language), of his rate of pay, employer’s regular pay day, and

    such other information.

  326.      Defendants required Plaintiff Campos to purchase “tools of the trade” with his own

    funds—including one pair of tweezers, one harness, one helmet, a pair of shoes, a uniform,

    and one measuring tape.

                            Plaintiff Victor Caivinagua Caivinagua

327. Plaintiff Caivinagua was employed by Defendants in the state of New Jersey from

    approximately July 29, 2019 until on or about August 31, 2019.

328. Defendants employed Plaintiff Caivinagua as a construction worker from approximately

    July 29, 2019 until on or about August 31, 2019.

329. Plaintiff Caivinagua regularly handled goods in interstate commerce, such as construction

    materials and other supplies produced outside the State of New Jersey.

330. Plaintiff Caivinagua’s work duties required neither discretion nor independent judgment.

331.Throughout his employment with Defendants, Plaintiff Caivinagua regularly worked in

    excess of 40 hours per week.

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332. From approximately July 29, 2019 until on or about August 31, 2019, Plaintiff Caivinagua

    worked from approximately 4:00 a.m. until about 9:00 p.m. to 10:00 p.m. seven days a

    week (typically 118 to 126 hours per week).

333. Throughout his employment, Defendants paid Plaintiff Caivinagua his wages by personal

    check.

334. From approximately July 29, 2019 until on or about August 31, 2019, Defendants paid

    Plaintiff Caivinagua $30.00 per hour.

335. Throughout his employment with Defendants, Defendants failed to pay Plaintiff

    Caivinagua at a rate of one-and-a-half times his regular hourly rate for hours that he

    worked in excess of 40 hours per week.

336. Defendants did not pay Plaintiff Caivinagua’s any wages for his last week of work.

337.No notification, either in the form of posted notices or other means, was ever given to

     Plaintiff Caivinagua regarding overtime and wages under the FLSA.

338. Defendants did not provide Plaintiff Caivinagua an accurate statement of wages.

  339.       In fact, Defendants adjusted Plaintiff Caivinagua’s paystub so that it reflected

    inaccurate wages and hours worked for his last week of work.

  340.       Defendants required Plaintiff Caivinagua to purchase “tools of the trade” with his

    own funds—including paying for a hotel to be near the work site, and costs for

    transportation to and from the worksite.

                             Defendants’ General Employment Practices

  341.       At all times relevant to this Complaint, Defendants maintained a policy and practice

    of requiring Plaintiffs (and all similarly situated employees) to work in excess of 40 hours

    a week without paying them appropriate overtime compensation as required by federal and

    state laws.

  342.       Plaintiffs were victims of Defendants’ common policy and practices which violate

    their rights under the FLSA and state law by, inter alia, not paying them the wages they

    were owed for the hours they worked.

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 343.     Defendants’ pay practices resulted in Plaintiffs not receiving payment for all hours

  worked, and resulted in Plaintiffs’ effective rate of pay falling below the required overtime

  rate.

 344.     On a number of occasions, Defendants required Plaintiffs to sign a document the

  contents of which they were not allowed to review in detail.

 345.     Defendants paid Plaintiffs their wages by check or by personal check.

 346.     Defendants failed to post at the workplace, or otherwise provide to employees, the

  required postings or notices to employees regarding the applicable wage and hour

  requirements of the FLSA and/or state laws.

 347.     Upon information and belief, these practices by Defendants were done willfully to

  disguise the actual number of hours Plaintiffs (and similarly situated individuals) worked,

  and to avoid paying Plaintiffs properly for their full hours worked.

 348.     Defendants engaged in their unlawful conduct pursuant to a corporate policy of

  minimizing labor costs and denying employees compensation by knowingly violating the

  FLSA and state laws.

 349.     Defendants’ unlawful conduct was intentional, willful, in bad faith, and caused

  significant damages to Plaintiffs and other similarly situated current and/or former workers.

 350.     Defendants failed to provide Plaintiffs and other employees with accurate wage

  statements at the time of their payment of wages, containing: the dates of work covered by

  that payment of wages; name of employee; name of employer; address and phone number

  of employer; rate or rates of pay and basis thereof, whether paid by the hour, shift, day,

  week, salary, piece, commission, or other; gross wages; deductions; allowances, if any,

  claimed as part of the minimum wage; net wages; the regular hourly rate or rates of pay;

  the overtime rate or rates of pay; the number of regular hours worked; and the number of

  overtime hours worked.

                     FLSA COLLECTIVE ACTION CLAIMS

 351.     Plaintiffs bring their FLSA minimum wage, overtime compensation, and liquidated

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  damages claims as a collective action pursuant to FLSA Section 16(b), 29 U.S.C. § 216(b),

  on behalf of all similarly situated persons (the “FLSA Class members”), i.e., persons who

  are or were employed by Defendants or any of them, on or after the date that is three years

  before the filing of the complaint in this case (the “FLSA Class Period”).

 352.       At all relevant times, Plaintiffs and other members of the FLSA Class were

  similarly situated in that they had substantially similar job requirements and pay provisions,

  and have been subject to Defendants’ common practices, policies, programs, procedures,

  protocols and plans including willfully failing and refusing to pay them the required

  overtime pay at a one and one-half their regular rates for work in excess of forty (40) hours

  per workweek under the FLSA, and willfully failing to keep records under the FLSA.

 353.       The claims of Plaintiffs stated herein are similar to those of the other employees.

                              FIRST CAUSE OF ACTION

    VIOLATION OF THE MINIMUM WAGE PROVISIONS OF THE FLSA

 354.       Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

 355.       At all times relevant to this action, Defendants were Plaintiffs’ employers within

  the meaning of the Fair Labor Standards Act, 29 U.S.C. § 203(d). Defendants had the

  power to hire and fire Plaintiffs (and the FLSA Class Members), controlled the terms and

  conditions of their employment, and determined the rate and method of any compensation

  in exchange for their employment.

 356.       At all times relevant to this action, Defendants were engaged in commerce or in an

  industry or activity affecting commerce.

 357.       Defendants constitute an enterprise within the meaning of the Fair Labor Standards

  Act, 29 U.S.C. § 203 (r-s).

 358.       For some hours worked, Defendants failed to pay Plaintiffs (and the FLSA Class

  members) at or above the applicable minimum hourly rate, in violation of 29 U.S.C. §

  206(a).

 359.       Defendants’ failure to pay Plaintiffs (and the FLSA Class members) at or above the

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   applicable minimum hourly rate was willful within the meaning of 29 U.S.C. § 255(a).

360. Plaintiffs (and the FLSA Class members) were damaged in an amount to be determined

    at trial.

                            SECOND CAUSE OF ACTION

        VIOLATION OF THE OVERTIME PROVISIONS OF THE FLSA

 361.      Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

 362.      Defendants, in violation of 29 U.S.C. § 207(a)(1), failed to pay Plaintiffs (and the

   FLSA Class members) overtime compensation at a rate of one and one-half times the

   regular rate of pay for each hour worked in excess of forty hours in a work week.

 363.      Defendants’ failure to pay Plaintiffs (and the FLSA Class members), overtime

   compensation was willful within the meaning of 29 U.S.C. § 255(a).

 364.      Plaintiffs (and the FLSA Class members) were damaged in an amount to be

   determined at trial.

                             THIRD CAUSE OF ACTION

VIOLATION OF THE MINIMUM WAGE PROVISIONS OF THE NEW JERSEY

                               WAGE AND HOUR LAW

 365.      Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

 366.      At all times relevant to this action, Defendants were Plaintiffs’ employers within

   the meaning of the New Jersey Wage and Hour Law (NJWHL), N.J.S.A § 34:11-56a4, et

   seq. Defendants had the power to hire and fire Plaintiffs, controlled the terms and

   conditions of their employment, and determined the rate and method of any compensation

   in exchange for their employment.

 367.      For some hours worked in the State of New Jersey, Defendants failed to pay each

   of Plaintiffs at or above the applicable minimum hourly rate under the NJWHL.

 368.      Defendants’ failure to pay Plaintiffs at or above the applicable minimum hourly

   rate was willful within the meaning of the NJWHL.

369. Plaintiffs were damaged in an amount to be determined at trial.


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                              FOURTH CAUSE OF ACTION

          VIOLATION OF THE OVERTIME PROVISIONS OF THE NJWHL

   370.      Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

   371.      Defendants, in violation of the NJWHL, N.J.S.A § 34:11-56a4, et seq., failed to

     pay Plaintiffs overtime compensation at a rate of one and one-half times the regular rate of

     pay for each hour worked in the State of New Jersey in excess of forty hours in a work

     week.

   372.      Defendants’ failure to pay Plaintiffs overtime compensation was willful within the

     meaning of the NJWHL

   373.      Plaintiffs were damaged in an amount to be determined at trial.

                               FIFTH CAUSE OF ACTION

VIOLATION OF THE MINIMUM WAGE PROVISIONS OF THE NEW YORK LABOR

                                             LAW

   374.      Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

   375.      At all times relevant to this action, Defendants were Plaintiff Torres’ employers

     within the meaning of the New York Labor Law (NYLL) §190 et seq. and §650 et seq.

     Defendants had the power to hire and fire Plaintiff Torres, controlled the terms and

     conditions of his employment, and determined the rate and method of any compensation

     in exchange for his employment.

   376.      For some hours worked in the state of New York, Defendants failed to pay

     Plaintiff Torres at or above the applicable minimum hourly rate under the NYLL.

   377.      Defendants’ failure to pay Plaintiff Torres at or above the applicable minimum

     hourly rate was willful within the meaning of the NYLL.

  378. Plaintiff Torres was damaged in an amount to be determined at trial.

                               SIXTH CAUSE OF ACTION

          VIOLATION OF THE OVERTIME PROVISIONS OF THE NYLL

   379.      Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

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   380.    Defendants, in violation of NYLL §190 et seq. and §650 et seq., failed to pay

    Plaintiff Torres overtime compensation at a rate of one and one-half times the regular rate

    of pay for each hour worked in the state of New York excess of forty hours in a work week.

   381.    Defendants’ failure to pay Plaintiff Torres overtime compensation was willful

    within the meaning of the NYLL

   382.    Plaintiff Torres was damaged in an amount to be determined at trial.

                            SEVENTH CAUSE OF ACTION

VIOLATION OF THE SPREAD OF HOURS PROVISION OF THE NEW YORK WAGE

                                          ORDER

   383.    Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

   384.    Defendants, in violation of NYLL §§ 650 et seq. and 12 N.Y.C.R.R. §§ 146-1.6,

    failed to pay Plaintiff Torres an extra hour’s pay for each day in which he worked in New

    York on which the beginning of the workday occurred more than ten hours before the end

    of the workday.

   385.    Defendants’ failure to pay Plaintiff Torres spread-of-hours compensation was

    willful within the meaning of the New York Wage Order.

   386.    Plaintiff Torres was damaged in an amount to be determined at trial.

                             EIGHTH CAUSE OF ACTION

             VIOLATION OF THE NOTICE AND RECORDKEEPING
              REQUIREMENTS OF THE NEW YORK LABOR LAW

   387.    Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

   388.    Defendants failed to provide Plaintiff Torres with a written notice, in English and

    in Spanish (Plaintiff Torres’ primary language), containing: the rate or rates of pay and

    basis thereof, whether paid by the hour, shift, day, week, salary, piece, commission, or

    other; allowances, if any, claimed as part of the minimum wage, including tip, meal, or

    lodging allowances; the regular pay day designated by the employer; the name of the

    employer; any “doing business as" names used by the employer; the physical address of

    the employer's main office or principal place of business, and a mailing address if different;
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   and the telephone number of the employer, as required by NYLL §195(1).

  389.    Defendants are liable to Plaintiff Torres in the amount of $5,000, together with

   costs and attorneys’ fees.

                                NINTH CAUSE OF ACTION

            VIOLATION OF THE WAGE STATEMENT PROVISIONS
                    OF THE NEW YORK LABOR LAW

  390.    Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

  391.    With each payment of wages, Defendants failed to provide Plaintiff Torres with

   an accurate statement listing each of the following: the dates of work covered by that

   payment of wages; name of employee; name of employer; address and phone number of

   employer; rate or rates of pay and basis thereof, whether paid by the hour, shift, day,

   week, salary, piece, commission, or other; gross wages; deductions; allowances, if any,

   claimed as part of the minimum wage; net wages; the regular hourly rate or rates of pay;

   the overtime rate or rates of pay; the number of regular hours worked; and the number of

   overtime hours worked, as required by NYLL §195(3).

  392.    Defendants are liable to Plaintiff Torres in the amount of $5,000, together with

   costs and attorneys’ fees.

                                TENTH CAUSE OF ACTION

VIOLATION OF THE MINIMUM WAGE PROVISIONS OF THE PENNSYLVANIA

                          MINIMUM WAGE ACT (PMWA)

  393.    Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

  394.    At all times relevant to this action in which Plaintiff Campos worked in

   Pennsylvania, Defendants were Plaintiff Campos’ employers within the meaning of the

   Pennsylvania Minimum Wage Act (PMWA), 43 P.S. Labor § 333.104 et seq., Defendants

   had the power to hire and fire Plaintiff Campos, controlled the terms and conditions of his

   employment, and determined the rate and method of any compensation in exchange for his

   employment.

  395.    For some hours worked in the Commonwealth of Pennsylvania, Defendants failed
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      to pay Plaintiff Campos at or above the applicable minimum hourly rate under the

      PMWA.

     396.    Defendants’ failure to pay Plaintiff Campos at or above the applicable minimum

      hourly rate was willful within the meaning of the PMWA.

   397. Plaintiff Campos was damaged in an amount to be determined at trial.

                            ELEVENTH CAUSE OF ACTION

            VIOLATION OF THE OVERTIME PROVISIONS OF THE PMWA

     398.    Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

     399.    Defendants, in violation of 43 P.S. Labor § 333.104 et seq., failed to pay Plaintiff

      Campos overtime compensation at a rate of one and one-half times the regular rate of pay

      for each hour worked in the Commonwealth of Pennsylvania in excess of forty hours in a

      work week.

     400.    Defendants’ failure to pay Plaintiff Campos overtime compensation was willful

      within the meaning of the PMWA

     401.    Plaintiff Campos was damaged in an amount to be determined at trial.

                             TWELFTH CAUSE OF ACTION

                         RECOVERY OF EQUIPMENT COSTS

     402.    Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

     403.    Defendants required Plaintiffs to pay, without reimbursement, the costs and

      expenses for purchasing and maintaining equipment and “tools of the trade” required to

      perform their jobs, further reducing their wages in violation of the FLSA. 29 U.S.C. §

      206(a); 29 C.F.R. § 531.35.

     404.    Plaintiffs were damaged in an amount to be determined at trial.



                                    PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs respectfully request that this Court enter judgment against

Defendants by:

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  (a)      Designating this action as a collective action and authorizing prompt issuance of

  notice pursuant to 29 U.S.C. § 216(b) to all putative class members apprising them of the

  pendency of this action, and permitting them to promptly file consents to be Plaintiffs in

  the FLSA claims in this action;

  (b)      Declaring that Defendants violated the minimum wage provisions of, and

  associated rules and regulations under, the FLSA as to Plaintiffs and the FLSA Class

  members;

  (c)      Declaring that Defendants violated the overtime wage provisions of, and associated

  rules and regulations under, the FLSA as to Plaintiffs and the FLSA Class members;

  (d)      Declaring that Defendants violated the recordkeeping requirements of, and

  associated rules and regulations under, the FLSA with respect to Plaintiffs’ and the FLSA

  Class members’ compensation, hours, wages, and any deductions or credits taken against

  wages;

  (e)      Declaring that Defendants’ violations of the provisions of the FLSA were willful

  as to Plaintiffs and the FLSA Class members;

  (f)      Awarding Plaintiffs and the FLSA Class members damages for the amount of

  unpaid minimum wage, overtime compensation, and damages for any improper deductions

  or credits taken against wages under the FLSA as applicable;

  (g)      Awarding Plaintiffs and the FLSA Class members liquidated damages in an amount

  equal to 100% of their damages for the amount of unpaid minimum wage and overtime

  compensation, and damages for any improper deductions or credits taken against wages

  under the FLSA as applicable pursuant to 29 U.S.C. § 216(b);

  (h)      Awarding Plaintiffs and the FLSA Class members pre-judgment and post-judgment

  interest as applicable;

  (i)      Awarding Plaintiffs and the FLSA Class members the expenses incurred in this

  action, including costs and attorneys’ fees;

  (j)      Awarding Plaintiffs damages, costs, and attorneys’ fees for Defendants’ violation

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      of their rights to minimum wage and overtime under the NJWHL;

      (k)    Awarding Plaintiff Torres damages (including liquidated damages), costs, and

      attorneys’ fees, for Defendants violation of his rights to minimum wage, overtime pay,

      spread of hours pay, wage statements, and wage notices pursuant to the NYLL and teh

      accompanying Wage Order of the New York Commissioner of Labor;

      (l)    Awarding Plaintiff Campos damages, costs, and attorneys’ fees, for Defendants’

      violation of his rights to minimum wage and overtime compensation for all hours worked

      pursuant to the PMWA;

      (m)    All such other and further relief as the Court deems just and proper.

                                       JURY DEMAND

      Plaintiffs demand a trial by jury on all issues triable by a jury.




Dated: New York New York

      February 19, 2020.

                                                     MICHAEL FAILLACE & ASSOCIATES, P.C.

                                             By:            /s/ Jordan Gottheim
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Faillace@employmentcompliance.com



                                                                        October 16,2019
BY HAND




TO:      Clerk of Court,



I hereby consent to join this lawsuit as a party plaintiff.
(Yo,por medio de este documento,doy mi consentimiento para formar parte de la
demanda como uno de los demandantes.)


Name / Nombre:                                  Edison Fabian Becerra Cabrera (a.k.a Fabian Becerra')


Legal Representative / Abogado:                Michael Faillace & Associates. P.C.
                                                                                 T
Signature / Firma:                                         li             Ill
                                                                I
Date / Fecha:                                    16 de octubre 2019       /




                            Cert/ffed as a minority-owned business in the State of New York
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